83 F.3d 414
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bruce E. ANDERSON, Plaintiff-Appellant,v.David L. SMITH;  Virginia Department of Corrections;  Dr.Cei;  Dr. Kapil;  Edward Carey, Doctor;  Dr.Ammonette;  E.C. Morris;  Doctor Walker,Bland Correctional Center,Defendants-Appellees.
    No. 95-1062.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 15, 1996.Decided April 22, 1996.
    
      Bruce E. Anderson, Appellant Pro Se.  Mary Christine Maggard, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia;  Peter Duane Vieth, WOOTEN &amp; HART, P.C., Roanoke, Virginia, for Appellees.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Anderson v. Smith, No. CA-93-582-R (W.D.Va. Dec. 8, 1994).   We deny Appellant's motion for appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    